Case 9:18-cv-80176-BB Document 509-1 Entered on FLSD Docket 05/18/2020 Page 1 of 29




                     EXHIBIT 1
        Case 9:18-cv-80176-BB Document 509-1 Entered on FLSD Docket 05/18/2020 Page 2 of 29
                                                         CONFIDENTIAL




                                                       SUMMARY OF DIAGNOSTIC CONSULTATION

                                   Name:                            Dr. Craig Steven Wright
                                   Date of Birth:                   October 23, 1970
                                   Age:                             49 years
                                   Period of Consultation:          April 3 2020 to April 10 2020
 1920 Briarcliff Road NE           Consultants:                     Ami Klin PhD, and Celine Saulnier PhD
 Atlanta, GA 30329-4010
 404-785-5762
 404-785-9043 fax

 ami.klin@emory.edu                01.       BACKGROUND FOR CONSULTATION:
 www.marcus.org

                                   Dr. Ami Klin was contacted by Mr. Zalman Kass and Ms. Monifa Hall from Rivero
                                   Mestre LLP, Miami, Florida, to conduct a clinical assessment of Dr. Craig Steven
                                   Wright in order to address two questions: (1) does Dr. Wright meet criteria for
                                   Autism Spectrum Disorder (ASD), and (2) if so, how would this diagnosis impact
Ami Klin, Ph.D.
                                   his presentation in legal proceedings such as depositions and court
Director, Marcus Autism Center     appearances. Rivero Mestre represents Dr. Wright in “Ira Kleiman, et al.,
Children’s Healthcare of Atlanta
                                   Plaintiffs, -v- Craig Wright, Defendant.” Dr. Wright lives in the UK with his wife,
Professor and Division Chief       Mrs. Ramona Watts, and step children. Information was also obtained from his
Autism and Related Disorders
Department of Pediatrics
                                   mother, uncle and one sister, all of whom live in Australia. Due to the physical
Emory School of Medicine           distance between the clinicians, who are based in Atlanta in the US, and the
Center for Translational
                                   interviewees, as well as due to social distancing directives prevailing during the
Social Neuroscience                current COVID-19 period, all interviews were conducted remotely via tele-
Emory University
                                   conferencing.
Georgia Research Alliance
Eminent Scholar
                                   In addition to the procedures followed as part of this consultation (see below),
                                   Dr. Klin was also given access to, and reviewed, the following materials:

                                         •   Transcript of Evidentiary Hearing Proceedings Before the Honorable
                                             Bruce E. Reinhart, United States Magistrate Judge, Dr. Craig Steven
                                             Wright’s Deposition, June 28, 2019, West Palm Beach, Florida.

                                         •   Videotaped deposition of Dr. Craig Steven Wright, taken by attorneys
                                             for the plaintiffs, from Boies, Schiller, Flexner, LLP, on April 4, 2019, in
                                             London, UK. These were videotaped files made over the course of the
                                             entire day of deposition, arranged in the order that they occurred, and
                                             lasting approximately 8 hours. The video files were labeled:
                                                 o CW040419a,          CW040419b,         CW040419c,       CW040419d,
                                                     CW040419e, CW040419f, CW040419g.
Case 9:18-cv-80176-BB Document 509-1 Entered on FLSD Docket 05/18/2020 Page 3 of 29
                                         CONFIDENTIAL


   Diagnostic consultants and their roles:

   Ami Klin, PhD, is the Director of the Marcus Autism Center, and Chief of Autism, Children’s
   Healthcare of Atlanta, and the Georgia Research Alliance Eminent Scholar Professor and Chief of
   the Division of Autism & Related Disorders at the Emory University School of Medicine
   Department of Pediatrics, in Atlanta, Georgia. Dr. Klin is the Principal Investigator of the National
   Institutes of Health Emory Autism Center of Excellence, now in its second (5-year) generation.
   Prior to coming to Atlanta in January of 2011, he was the (tenured) Harris Professor of Child
   Psychology and Psychiatry at the Yale Child Study Center, Yale University School of Medicine,
   where he directed Yale’s Autism Program, and was Principal Investigator of the National
   Institutes of Health Yale Autism Center of Excellence. He was at Yale from 1989 to 2010, first as
   a post-doctoral fellow in clinical child psychology and developmental psychopathology, and then
   as a member of the Yale University School of Medicine faculty. His experience in ASD and related
   disabilities dates back to his graduate school training at the Medical Research Council, University
   of London (1983 – 1988). He has completed over 2,000 diagnostic evaluations involving children,
   adolescents and adults with ASD. He is a licensed clinical psychologist (Connecticut, and then
   Georgia).

   Celine Saulnier, PhD, was until 2018 the Director of Research Operations and of the Clinical
   Assessment Core at the Marcus Autism Center, Children’s Healthcare of Atlanta, and Associate
   Professor at the Division of Autism & Related Disorders at the Emory University School of
   Medicine Department of Pediatrics, in Atlanta, Georgia. Prior to coming to Atlanta in July of 2011,
   she was an Associate Research Scientist at the Yale Child Study Center, Yale University School of
   Medicine, and the Clinical and Training Director of Yale’s Autism Program. She came to Yale in
   2002 as a National Alliance for Autism Research post-doctoral associate after completion of her
   formal clinical psychology training (including her clinical post-doctoral requirements) and stayed
   there as a faculty member. Her formal experience in autism and related disabilities dates back to
   her graduate schoolwork at the University of Connecticut at Storrs, where she trained in child
   neuropsychology. Dr. Saulnier is now in private practice in Atlanta, GA, as both a clinician and
   clinical science consultant. She has completed several hundred diagnostic evaluations of children,
   adolescents and adults with ASD in her career. She is a licensed clinical psychologist (Connecticut,
   and then Georgia).

   Dr. Klin completed all record reviews, conducted the direct assessment of Dr. Wright (ADOS-2,
   see below), supervised all of the other assessments, and wrote the final summary report
   including diagnostic formulation and opinions on the case. Dr. Saulnier administered all of the
   other interviews (ADI-R, Vineland, see below) and rating scales, scored the tests and rating scales,
   and provided all of these materials to Dr. Klin, including all of her notes and observations to be
   reviewed and interpreted by Dr. Klin, and then integrated into his diagnostic formulation and
   opinions. Drs. Klin and Saulnier also had an opportunity to discuss all materials at the end of the
   consultation and prior to summary report writing in order to clarify any matters associated with
   the various procedures that Dr. Saulnier had carried out, and in order to perform a clinician-best-
   estimate diagnosis across the two clinicians (a consensus diagnosis as per “gold standard”
   practices). As noted, Dr. Klin integrated all findings and observations in the final report.



                                                                                                      2
Case 9:18-cv-80176-BB Document 509-1 Entered on FLSD Docket 05/18/2020 Page 4 of 29
                                           CONFIDENTIAL



   Procedures:

   The direct assessment included the administration of the following instruments: The Autism
   Diagnostic Observation Schedule, Second Edition – ADOS-2, Module 4 (direct observation of the
   Dr. Wright’s behavior), and the Autism Diagnostic Interview, Revised – ADI-R (interview with Dr.
   Wright’s mother and uncle focusing on his life history, beginning in early childhood). In order to
   supplement information about Dr. Wright’s childhood and school-age life, one of his younger
   sisters, with a small difference in age, was also interviewed. Additionally, as a comprehensive
   measure of Dr. Wright’s adaptive behavior skills (independent-living or “real Life” skills), the
   Vineland Adaptive Behavior Scales – Third Edition – Vineland-3, was administered having Dr.
   Wright’s wife as the informant. All of these procedures also generated a wide and expansive
   range of illustrations of representative behavior exhibited by Dr. Wright, both historically and
   presently. Finally, the Social Responsiveness Scale – Second Edition – SRS-2, 65-item rating scale
   measuring deficits in social behavior associated with ASD, was completed by both Dr. Wright
   (self-report) and by his wife (close-other-report).

   In regards to the final conclusions provided by this report, the opinions resulted from the totality
   of information collected during the assessment.

   Notes on methodology:

           Onset of ASD: ASD is a neurodevelopmental disorder of genetic origins, by which it is
   meant that it must be present in the early developmental period, even though it might not
   become fully manifest or apparent to others until social demands exceed limited capacities,
   which typically happens during school years, but it could be somewhat later for some higher
   functioning individuals, with intact intellectual skills and lesser degrees of the disability. Typically,
   however, even when the condition is not officially diagnosed by a clinician during childhood, it is
   possible to identify atypical, or unusual, patterns of behavior characteristic of the developmental
   history of individuals with this condition. That was the reason why there was a need to interview
   several informants who could provide descriptions of Dr. Wright early in his life.

            ASD in intellectually-able individuals: ASD impacts a person’s function in the areas of social
   interaction and social communication, and is characterized by restrictive, repetitive patterns of
   behavior. About 36% of individuals with ASD have intellectual disabilities and about 42% have
   intact intellect. However, the range of intellectual variation goes from profound intellectual
   disability to gifted. As a result, the manifestations of ASD vary a great deal as a result of a person’s
   level of intellectual abilities. Although it was not possible to measure Dr. Wright’s intellectual
   skills directly because of the remote nature of this evaluation, a review of his video depositions
   and direct interview with Dr. Wright allowed Dr. Klin to estimate his IQ to be minimally in the
   intact range, but much more likely in the gifted range, at least in regards to verbally-mediated
   learning and skills. Dr. Wright was never evaluated clinically, and, to the best of the informants’
   recollection, he has never had an IQ test. They could, nevertheless, describe his intellectual
   abilities as very high, particularly in some domains of learning. This information is essential



                                                                                                          3
Case 9:18-cv-80176-BB Document 509-1 Entered on FLSD Docket 05/18/2020 Page 5 of 29
                                         CONFIDENTIAL


   because one important aspect of the clinical presentation of “higher-functioning” individuals
   with ASD (described by some in prior nosology as individuals with “Asperger syndrome”) is the
   marked discrepancy between strengths (and, sometimes, prodigious skills) in some areas and
   pronounced deficits and challenges in other areas of functioning. Ascertaining this scatter of skills
   is an important element of any assessment of an individual with ASD with intact or high
   intellectual skills, whose social, communication and cognitive profiles have been described and
   researched in the past several decades.

          02.     HISTORY AND CURRENT PRESENTATION, INFORMANT-BASED (ADI-R, SRS-2):

   The Autism Diagnostic Interview – Revised (ADI-R) is a comprehensive, semi-structured interview,
   typically conducted with parents or caregivers, or with those individuals who have the best
   historical view of a child or person’s early and subsequent development and adjustment to social
   environments in their past, and of the child’s or person’s current style and adjustment in the
   present. It yields a comprehensive assessment of ASD symptoms, both in the past and in the
   present. The interviewer probes for this information following a standard format while covering
   several areas of behavior, and the totality of information provided by the informants is then
   coded and scored according to standard criteria. A diagnostic algorithm is then generated, of ASD
   or not-ASD, based on responses in the areas of Communication, Reciprocal Social Interaction,
   and Restricted, Repetitive, and Stereotyped Patterns of Behavior. This information was gathered
   through a phone interview with Dr. Wright’s mother,                    , and maternal uncle, Mr.
   Don Lynam, both residing in Australia. Additional information was provided during subsequent
   interviews with Dr. Wright’s wife, Ramon Watts, who resides in the UK, and with Dr. Wright’s
   younger sister,           , who lives in Australia.

   Family History and Genetic Liabilities: Focusing on first- and second-degree biological relatives,
   the following family members had characteristics consistent with ASD although none of them
   ever had a formal diagnosis of ASD:
   • his biological father was an extremely intelligent man but socially reticent; he was also
      described as someone prone to “odd and volatile” behaviors. He was abusive to Dr. Wright’s
      mother, himself and his siblings;
   • his maternal grandfather was described as someone very similar in behavior and interests to
      Dr. Wright (“like two peas in a pod”). He was extremely bright, isolated and immersed in his
      narrow interests and projects, and with whom Dr. Wright spent a great deal time throughout
      his childhood, and who was one of the most important relationships in Dr. Wright’s life until
      his death approximately 10 years ago;
   • one of his             was described in terms characteristic of ASD although        was never
      formalized diagnosed.

   Dr. Wright and his siblings were exposed to, and experienced, traumatizing events attributed to
   his biological father, and, subsequently, to one of his stepfathers.

   Developmental History: There were no pre- or perinatal concerns. Milestones were achieved
   normatively, if not early, and speech-language milestones were precocious. Dr. Wright’s social



                                                                                                      4
Case 9:18-cv-80176-BB Document 509-1 Entered on FLSD Docket 05/18/2020 Page 6 of 29
                                          CONFIDENTIAL


   difficulties became apparent once he went to school. He was bullied and ostracized by peers,
   whom he would often approach in awkward attempts to involve them in his often obsessive and
   narrow, or circumscribed interests. Initiation of social approaches was, quite generally, one-sided
   and insensitive to unspoken rules of social interaction (e.g., reciprocity, turn-taking, relevance
   and adaptability to social context). In adolescence, as a reaction to relentless teasing by his peers,
   Dr. Wright once retaliated physically, breaking a peer’s nose, an episode that he remembers to
   this day. Other characterizations of Dr. Wright’s childhood and adolescence included: he was an
   introvert who preferred to be alone with his pursuits, typically cerebral games and circumscribed
   interests (e.g., in Japanese culture, Samurai swords, martial arts, dressing up as a Ninja); never
   engaged in sports; was upset in crowds. He was also described by his mother and siblings, as he
   is today by his wife, as a very loving and generous person, very attached to his family, particularly
   to his mother (and, as noted, to his maternal grandfather until his death). Nevertheless, despite
   expressions of love to his family members, he was also described as someone who connects to
   people through “duty, loyalty and respect in a rigid and odd manner”, likening these values to his
   immense interest in Japanese culture or, specifically, in Samurai values.

   Communication Skills: Historically, Dr. Wright’s language and communication skills were
   characterized as strong in vocabulary and syntactic skills, “mechanical” and devoid of expression
   in prosody, and pedantic in style. Minor annoyances can lead to loud volume and aggressive tone,
   often off-putting to others but if this is brought to his attention he typically states that he is
   merely conversing. There is often a sense of disconnection between style and circumstance,
   particularly social context. Nonverbal communication was reported to be limited, with poor eye-
   contact, and limited nonverbal gestures. All of these have improved over the years thanks to
   several supports over the years, including currently, when a colleague helps him achieve more
   polished public presentations. Although Dr. Wright enjoys praise, others will often not detect a
   reaction because of extremely limited emotional expressions, particularly facial expressions for
   the purpose of communicating intent and emotional state to others. He was often described as
   “remote”. And yet, despite the limited display of other-oriented expressions, Dr. Wright becomes
   annoyed easily, reacting to frustration by lashing out at others verbally. He was also described as
   someone that often appears to have no “social filter”, stating what is in his mind in socially
   inappropriate fashion.

   Reciprocal Social Interaction Skills: Dr. Wright always had a very small number of friends who
   shared “geeky” pursuits, including computer programming. Dr. Wright always had problems
   reading people’s intentions and degree of trust, and, as a result, was often disappointed and
   frustrated. To this day, he may enjoy an occasional social outing with like-minded colleagues, but
   is otherwise devoted to his immediate family members. He does not understand the purpose of
   small talk, and will primarily engage others in topics of his own interest, in disregard of whether
   or not the other person might be interested in them, and he often feels deeply disappointed, at
   times painfully so, if someone else is not as joyful as he is in pursuing these themes. If people are
   not interested in his topics, he often terminates the exchange, often abruptly. This style is often
   experienced by others as arrogant and aloof, as well as entitled and hostile, but within the family
   Dr. Wright can be loving, generous and even playful. But these interactions, in the home too,
   tend to be time-delimited.



                                                                                                       5
Case 9:18-cv-80176-BB Document 509-1 Entered on FLSD Docket 05/18/2020 Page 7 of 29
                                          CONFIDENTIAL



   Restrictive, Repetitive, and Stereotyped Patterns of Behavior: Dr. Wright was reported to have
   had circumscribed interests throughout his life, which often became all-consuming in intensity
   and absorption, as well as intrusive in his interactions with others. A sample of these interests
   includes, as noted, Japanese culture, Samurai swords, ninjas, and Bitcoin, and he has many
   collections. Dr. Wright was also reported to have great difficulty with any form of change, in
   routines, in his environment, or in arrangements or circumstances. This difficulty at times poses
   big challenges when he travels, or even when he goes out with his family. His reaction can be
   extreme, leading some administrative employees to tears, and characterized by his mother as
   almost like “adult tantrums”. Finally, Dr. Wright has also been described as someone with
   extreme literalness, failing to understand, or follow, non-literal speech forms or contextual jest,
   which he may characterize as linguistic imprecisions. This is seen outside the home but also in
   the home, including in following instructions from his wife for things such as dinner and home
   chores.

   ADI-R Scores: Cut-off scores signify that scores higher than the cut-off is consistent with the
   diagnosis of ASD. Reciprocal Social Interaction Score = 17 (cutoff = 10); Communication Score = 8
   (cutoff = 8); RRB Score = 4 (cutoff = 3). The ADI-R requires that symptoms were apparent prior to
   age 3 years, although it was not possible for his mother to remember much of his developmental
   history at the time. And yet, symptoms were certainly apparent by the time he went to school.
   Dr. Wright meets criteria for ASD according to the ADI-R.

    The Social Responsiveness Scale – Second Edition (SRS-2): The SRS-2 generates at Total Score, as
   well as scores for five subscales in the areas of Social Awareness, Social Cognition, Social
   Communication, Social Motivation, and Restricted Interests and Repetitive Behaviors. Scores are
   reported as T-scores, with scores below 59 considered to be within normal limits and not
   indicative of ASD. Scores between 60 and 65 suggest mild to moderate deficits in social
   interaction; scores between 66 and 75 suggest moderate deficits; and scores higher than 76
   suggest severe deficits that are strongly associated with ASD. Dr. Wright and his wife completed
   the SRS-2 and his scores are provided in the table below.

    SRS Scores                           Self-Report       Spousal Report
    Social Awareness                     95                81
    Social Cognition                     86                83
    Social Communication                 96                90
    Social Motivation                    84                76
    Restricted & Repetitive Behavior     95                77
    Total Score                          96                86

   On the SRS-2, Dr. Wright’s self-report yielded a Total Score of 96, and his wife’s report yielded a
   Total Score of 86, both of which indicate severe deficits in reciprocal social behavior that are
   clinically significant. By both reports, all subdomain scores also fall in the severe range, suggesting
   that Dr. Wright’s impairments in the areas of Social Awareness, Social Cognition, Social




                                                                                                        6
Case 9:18-cv-80176-BB Document 509-1 Entered on FLSD Docket 05/18/2020 Page 8 of 29
                                          CONFIDENTIAL


   Communication, Social Motivation, and Restricted & Repetitive Behaviors are likely causing
   significant interference with his everyday social interactions. The SRS-2 includes Compatible
   Subscales to the Diagnostic and Statistical Manual of Mental Disorders, Fifth Edition (DSM-5) that
   are keyed into the diagnostic criteria for ASD in the areas of Social Communication and
   Interaction (SCI) and Restricted Interests and Repetitive Behaviors (RRB). These are reported in
   T-scores with scores above 70 suggesting a strong association with a clinical diagnosis of ASD.
   Based on self- and spousal-report, respectively, Dr. Wright obtained the following Compatible
   Subscale scores: SCI = 95 and 87; RRB = 95 and 77, respectively. These scores are strongly
   suggestive of ASD.

   Assessment of Adaptive Behavior – The Vineland Adaptive Behavior Scales, Third Edition,
   Interview Form (Vineland-3): The Vineland-3 is a semi-structured interview that assesses an
   individual’s adaptive behavior skills. Adaptive behavior is defined as the performance of day-to-
   day activities that are necessary for independent self-care and to get along with others. These
   are not skills that an individual can do, but skills that an individual does do on a daily basis,
   independently (i.e., without help, support, or reminders). Standard scores on this instrument
   have an average of 100 and a standard deviation of 15 points. The Vineland-3 interview was
   conducted with Dr. Wright’s wife over the phone and based on her report, was deemed reliable
   given the wealth of behavior illustrations, and corroboration from the other sources. Dr. Wright’s
   scores were as follows:

    Domains and Subdomains              Standard       90%        Percentile
                                        Scores         Confidence Rank
                                                       Interval
    Communication                       44             40-48          <1
    Daily Living Skills                 54             49-59          <1
    Socialization                       20             45-53          <1
    Adaptive Behavior Composite         41             38-44          <1


   Based on his wife’s responses on the Vineland-3, Dr. Wright obtained an Adaptive Behavior
   Composite score of 41, which falls below the 1st percentile for his age and indicates substantial
   delays in his adaptive behavior skills. There was significant variability across domains of
   functioning, with particular weakness in the domain of socialization. To contextualize this score
   – his ability to translate cognitive potential into real-life skills consistently displayed in everyday
   situation – his intellect is estimated to be above the 99th percentile whereas his adaptive behavior
   is lower than the 1st percentile. This gap is characteristic of individuals with ASD with high
   intellect.

           Communication Skills: In everyday situations, Dr. Wright requires reminders to
   successfully complete two- and three-step instructions. He does not respond to the
   communicative tone of spoken words and does not respond appropriately and consistently to
   non-literal forms of speech such as sarcasm, and he does not remember to do a task at a later



                                                                                                        7
Case 9:18-cv-80176-BB Document 509-1 Entered on FLSD Docket 05/18/2020 Page 9 of 29
                                         CONFIDENTIAL


   time than asked without reminders. Dr. Wright has difficulty relaying details about his daily
   experiences. When he does, it is generally on his own initiative rather than when asked, and he
   often fails to provide background or sequential details necessary for another person to
   comprehend what happened. He also does not clarify himself by restating what he said in a
   different manner so that others understand him. Rather, he tends to either repeat exactly what
   he said or become frustrated that his conversational partner does not understand him. These
   real-life deficits co-exist with strengths, some prodigious skills, in reading and writing skills,
   substantiated in his academic work (several formal academic degrees in the past and several
   being pursued presently).

           Daily Living Skills: Scores in a portion of this domain (Domestic) should be read with
   caution because insofar as household activities, Dr. Wright does not engage in, nor is he expected
   to be responsible for, according to his wife, due to his “strenuous work schedule”. Within the
   area of personal care, Dr. Wright does not consistently choose to eat healthy foods and he does
   not care for his own medical needs, such as making doctor appointments when sick, taking his
   own temperature, and refilling medications. His wife does all of these things for him. Regarding
   community living skills, he manages his daily expenses by purchasing things that he needs, but
   he does not manage bills responsibly. His wife reported that there are often late notices and
   “threats” lying around the house from unpaid bills. She, therefore, cares for the household
   expenses.

            Socialization Skills: This was a domain of particular weakness, as noted. Within the area
   of interpersonal relationships, he shows a limited range of emotional expressions, he does not
   recognize emotions in others, and his eye contact is inconsistent. Regarding affection, he will hug
   and show affection to family members and shake the hands of colleagues; otherwise, he shows
   limited affection for non-family individuals and his wife reported that people find him “cold.”
   Regarding friendships, he has sustained long-term friendships in the past, but according to his
   wife, some were not always reciprocated as actual friendships by the other person. He is unlikely
   to seek out others for friendships, but his wife reported that if another person puts in all the
   effort and seeks him out, he will reciprocate but could become too trusting. Similar to reports in
   his history, Dr. Wright’s conversational skills are limited to topics of his (narrow, or self-chosen)
   interest. He does not initiate or sustain conversations based on the interest of others, he has
   difficulty not interrupting or not being rude, and he struggles to take the perspectives of others.
   He does not pick up on nonverbal cues from groups of people, and he does not initiate or plan
   for social activities with others. He will, however, plan activities and events for his family
   members. Regarding coping skills, Dr. Wright has difficulty controlling his anger when he does
   not get his way or when plans change unexpectedly, and he does not apologize with sincerity to
   anyone except his wife and family. He does not always recover quickly from minor
   disappointments, he does not think through consequences before acting, and he does not avoid
   being taken advantage of or manipulated by others, although he can get resentful and
   indiscriminately hostile when this becomes apparent to him. With much coaching, particularly
   from his wife, he is improving somewhat in his ability to judge the intentions of others.




                                                                                                      8
Case 9:18-cv-80176-BB Document 509-1 Entered on FLSD Docket 05/18/2020 Page 10 of 29
                                          CONFIDENTIAL


             Maladaptive Behaviors: The Vineland-3 also includes a broad assessment of maladaptive
    behaviors, or behaviors that can negatively impact adaptive functioning. Scores are listed as v-
    Scale Scores that have an average of 15 and standard deviation of 3, with higher scores indicating
    more maladaptive behaviors. Dr. Wright’s scores on the Internalizing and Externalizing scales
    were significantly elevated, with v-Scale scores of 19 and 21, respectively. Internalizing behaviors
    included being somewhat needy and dependent, avoiding interactions with others, and being
    very irritable or moody. Externalizing behaviors included having temper tantrums, bullying others
    with words, and being stubborn and argumentative. In addition to these behaviors, a few atypical
    behaviors were also endorsed by Dr. Wright’s wife. These included occasionally losing awareness
    of what is happening around him (becoming self-immersed), frequently getting so fixated on a
    topic that it annoys others, sometimes having no response to pain, and sometimes getting fixated
    on a person in a manner that is unwanted. She described the latter point to be how intensely
    fixated he was on her when they initially met, to an annoying degree. Yet, after years together
    she stated that she has come to appreciate this quality in her husband.

           03.   HISTORY AND CURRENT PRESENTATION, DIRECT INTERVIEW AND OBSERVATION
           (ADOS-2 Module 4, Informal observations and interview):

    The ADOS-2 and informal interview and observations were obtained over two teleconferencing
    sessions lasting about 2 hours and 45 minutes. The ADOS-2 Module 4 is a semi-structured
    interview designed to sample social, communication and interest profiles and observations of
    symptoms consistent with a diagnosis of ASD. It is the “gold standard” instrument for the direct
    assessment of ASD, and Module 4 was designed for older individuals who are verbally fluent. Like
    the ADI-R, information collected is then scored according to standard criteria. It then generates
    a diagnostic algorithm classifying the individual with the diagnosis of Autism (higher level of
    symptomatology), Autism Spectrum (lower level of symptomatology), or Non-Spectrum (without
    ASD).

    ADOS-2 Scores: Cut-off scores signify that scores higher than the cut-off is consistent with the
    diagnosis of Autism or ASD, respectively. Communication Score = 4 (cutoff = 3 for Autism and 2
    for Autism Spectrum); Reciprocal Social Interaction Score = 8 (cutoff = 6 for Autism and 4 for
    Autism Spectrum); Communication + Social Interaction Score = 12 (cutoff = 10 for Autism and 7
    for Autism Spectrum). Dr. Wright meets criteria for Autism according to the ADOS-2.

    There was extensive evidence for behavioral style and history consistent with those of an
    intellectually gifted individual with ASD. The following are a select number of social interaction,
    communication and cognition observations in which the evidence was particularly unequivocal:

             Processing and using other people’s nonverbal communication in reciprocal social
    interaction: While Dr. Wright has never been, nor is presently adept at decoding the social
    meaning of nonverbal communications, he also does not believe that these forms of social
    interaction are relevant, helpful or effective in pursuing the objective of the interaction, which,
    in his view, should focus on accomplishing a particular rational goal.




                                                                                                      9
Case 9:18-cv-80176-BB Document 509-1 Entered on FLSD Docket 05/18/2020 Page 11 of 29
                                           CONFIDENTIAL


            Understanding of other people’s minds: Dr. Wright has never been adept at, nor has he
    had much interest in, the minds of others, including what might be their intentions, emotional
    states, non-literal meanings, beliefs, or false beliefs. While in the past he withdrew into his own
    pursuits, sought interactions only with those with whom he shared specific interests, or
    attempted to understand minds by voraciously reading history, literature, philosophy and other
    subjects, at present, in some specific situations, he is painfully aware that what he loves (e.g.,
    geometry, algebra, solving complex puzzles) is not appreciated or even understood by others,
    including the small number of people he cherishes (in his family). Although deeply egotistical in
    the way he understands this kind of social isolation, he is also deeply sincere as this causes him
    pain, and he can be emotionally distressed, sad and lonely. His appreciation of his own emotional
    states, however, including these painful emotions, is very concrete and utilitarian. He denies
    feeling sad or lonely, even though he defines “lonely” with the word “normal”. His coping style is
    to seek the pursuit of joy in study and work, and in conversing about the topics of his interest
    with like-minded people, even though this always was, and is, a very small group people. He has
    a very concrete approach to his own mind and emotional states, which, he believes, is not
    understood by others, even loved ones. He has given his wife a mathematical rendition of himself,
    including a computer program to operate, and he stated, not in jest, but in deep disappointment,
    that she has never used it. Dr. Wright is capable of great sincerity. He is very precise in his
    formulations to others, as his precision and formal knowledge of things are his primary means to
    make up for lack of an intuitive sense of others, of self, of social context, and of people’s internal
    lives.

             Social and conventional mores: Dr. Wright has a diminished sense of “common sense”,
    which at times is quite profound. Although he can display prodigious and at times virtuosic formal
    knowledge of cultures, societies, periods of history, and entire bodies of knowledge (e.g., in math,
    in law, in theology), this formal knowledge becomes theories he uses in order to understand
    other people’s behaviors, social situations, and his own proclivities to act in one way or another.
    He has no direct, visceral sense of his surroundings or of the social contexts that he finds himself
    in. This style leads him to adopt ‘black and white’ approaches in social adaptation, as he sees
    little value in abiding by social niceties or polite behavior if these collide with what he perceives
    to be the honest truth as he sees it. He believes that a cruel communication would be one that
    was dishonest, not one that could unnecessarily blatantly offend another person and could be
    avoided simply for sparing that person the pain. In this way, he is quite incapable of manipulating
    other people by being deliberately deceitful and contrived, and this blatant style is both a
    historical and a present source of negative reactions by others, as he comes across as arrogant,
    entitled, insensitive and hurtful.

              Style of learning and of social adaptation: At the core of Dr. Wright’s reliance on formal
    knowledge to create rules and principles for the way he interacts with people and guides his own
    life, is the extraordinary reliance that he has on formal language as a means to understand the
    world and to adjust to others. His knowledge of the historical origins and multiple meanings and
    usages of a given word is prodigious, and he constantly researches words in his 20-volume Oxford
    English Dictionary. He misses the fact that this encompassing knowledge of words is typically
    subservient to the current, conventional and frequent use or uses of the word, and that in



                                                                                                       10
Case 9:18-cv-80176-BB Document 509-1 Entered on FLSD Docket 05/18/2020 Page 12 of 29
                                          CONFIDENTIAL


    conversation the particular meaning of the word (and by extension, the intention of the speaker)
    is particularly guided by the social context of a given situation. He demands precision when
    people ask him questions, and he demands of himself the same level of precision, even though
    this precision is required primarily as a replacement for what can defined as deficits in pragmatic
    aspects of language – word use, as one infers from understanding of the other person’s intention
    and social context. While this style is both historically and presently at the core of Dr. Wright’s
    communication, this seems to become more frequent and prevalent in situations in which he is
    displeased and senses hostility or attributes ill intention on the part of the other. Mostly he has
    disdain for lack of precision, and his form of “lying” might be failing to correct the
    misinterpretation of other people if he does not see any interest or use in such a correction.
    When he does, he can be extremely frustrated and even angry, at times also sad and even tearful,
    that others cannot see the specific meaning as he does. And yet, despite his word virtuosity, in
    very simple situations, including multiple times a day in his own home, he misinterprets
    communications by being extremely literal. For example, his wife, when concerned that he might
    not have had dinner, needs to be precise and explicit in her question: were she to ask “have you
    eaten?” he might say “yes” because he had breakfast that day. In sum: the rules of pragmatics
    such as relevance and context fail to provide Dr. Wright with a tool to use spontaneously to
    understand other people. And, of course, even a prodigious knowledge of world history will not
    help him decode a simple utterance that is entirely defined by the intention of a specific person
    in a specific social context.

            One-sidedness: Both historically and presently, Dr. Wright’s primary way of initiating
    social interaction has been to try and engage others in his topics of circumscribed interest.
    Because of his limited understanding of other people’s minds, and the lack of value that he
    ascribes to social interaction that serves no purpose except for itself (e.g., he sees no value in
    “small talk”), spontaneous conversations happen if he guides them into topics of his interest. If
    the conversation veers toward the personal or the polite, he typically takes the first opportunity
    to launch into what can be described as full lectures on topics that begin as an abstraction of the
    personal conversation, and soon gathers its own dynamic and becomes a lecture on etymology,
    history, or other big topic of learning. This tendency to engage in these kinds of one-sided
    conversations actually disrupts reciprocal conversation and end up being digressions,
    extraordinarily interesting because he is a man with erudite commentaries on most topics but
    conversation breakdowns nevertheless. While other adults may find this baffling or even
    pompous, this style, by report, served to alienate potential friends and peers from early
    childhood on, hence the select children he interacted with, as these would be children who would
    withstand his style because they were themselves very interested in the given narrow topic. Most
    frequently, however, this style was the object of relentless ridicule by peers, as Dr. Wright failed
    to monitor self and adjust his style to others, and most of all, failed to see his role in generating
    this kind of hostility and mockery on the part of others.

           Circumscribed interests and life style: The pursuit of a narrow topic of interest is
    extremely common among individuals with ASD, and it can take the expression of amassing vast
    amounts of fact and information about a topic, or a particularly focused skill in math, drawing or
    music. What typifies it, however, is the nature of the all-absorbing activity, not only in learning



                                                                                                      11
Case 9:18-cv-80176-BB Document 509-1 Entered on FLSD Docket 05/18/2020 Page 13 of 29
                                           CONFIDENTIAL


    (e.g., time spent) and in communication with others (in one-sided recitations) but as a content of
    repeated mental (self) occupation. While typically, people occupy their minds with daydreams
    and fantasies regarding others, social situations or social wishes, in individuals with ASD, internal
    life is dominated by these topics, which often end up having tremendous emotional meaning to
    them and can be even existential in that they may derive their very identity and understanding
    of the world around them in terms of these circumscribed pursuits. In most occurrences, these
    interests and skills remain circumscribed, as a form of repeated action, and do not evolve into
    vocational pursuits and careers. However, in some situations one can trace a person’s success to
    the windows of opportunity that these initially circumscribed interests afforded to the individual.
    Topics of interest may change over time, but they tend to follow an intrinsic nature: to
    systematize the world in ways that the individual can make sense of it, of others, and of self. This
    systematization is an attempt at reducing the world to unchanging facts and rules, which can be
    grasped and followed, and in this way, give the individual with ASD a sense of control and self-
    competence.

    From very early in life, Dr. Wright has pursued such topics of interest. Some have persisted to
    this date, while others evolved in complexity and productivity. What is clear from his life history,
    including his history of trauma and disappointments, and in particular, his sense of inadequacy,
    felt when powerless to stop something bad from happening or when told repeatedly of being
    inadequate, is that he built on these interests as a coping style and the foundation of his world
    view. From his early interest in martial arts (initially to counter his motoric clumsiness and to feel
    strong and competent), to his interest in Japanese culture, mores and traditions as a way of
    strengthening his mind and acquire discipline and clarity in his life, to his joy in joint pursuits of
    technical discovery with his grandfather to his gravitation to solving puzzles using computers,
    there has been continuity in his overall style. Over the years, his interests expanded dramatically,
    and yet some have remained central to his life, still experienced by others as circumscribed
    interests but felt by him as beautiful pursuits of creation and solutions to what he conceives to
    be the ills of the human condition. While his views are still extremely self-centered (as he sees
    others as he sees himself), he has noble values of making contributions to society, even though
    to others they may appear as grandiose if not plain self-interested. His ideas of joy and fulfillment,
    however, are not in what successes can bring (he seems genuinely unmoved by the typical
    motivation of fame and money) – his joy and fulfillment come from the very action that he
    engages in, either as opportunities to share the action or pursuit with likeminded people, or as
    internal daydreaming, when he thinks about geometry or algebra. He gets, as noted, extremely
    distressed and even tearful when he thinks about the fact that others, particularly loved ones, do
    not share the beauty he sees in his interests. This is probably the most visceral sense of
    disconnection and loneliness that he experiences. As he stated, “no-one understood my
    grandfather and nobody understands me.” While this might be seen by others as haughtiness, it
    is, in fact, a source of painful alienation to be filled by his relentless (and possibly interminable)
    pursuit of knowledge, puzzles, and academic degrees. Dr. Wright has a list on his wall of the
    number of PhDs and other academic titles he intends to pursue, being at present enrolled in two
    PhDs. When asked what a typical day in his life looks like, he provided the exact schedule of his
    life from Monday through Sunday, with rigid time periods devoted to learning Chinese, math,
    law, and other subjects. His schedule for self-help routines (e.g., hygiene, exercise) was equally



                                                                                                       12
Case 9:18-cv-80176-BB Document 509-1 Entered on FLSD Docket 05/18/2020 Page 14 of 29
                                           CONFIDENTIAL


    rigid. He even has in his schedule, one day a week, Sunday, a time for him to “sleep in”, a
    requirement posed by his wife. This regimented lifestyle is not well characterized as being the
    regiment of a “workaholic”. It is better portrayed as being the structure of life that Dr. Wright
    developed as a coping style for his disappointments and feelings of self-inadequacy, and a recipe
    for continuously engaging in things that he believes will improve him as a person, making him
    more “effective” while giving him the joys and fulfillment he craves for. It is indeed quite a tribute
    to his wife that she has been able to make a dent into this lifestyle, as he seems to compromise
    (e.g., meeting her friends) only as his wish to make her happy. Most of all, he is beholden to her
    because of what he sees as her indefatigable and unconditional attempt to understand him.

           04.     OPINION #1: DIAGNOSTIC FORMULATION

    The information generated by each one of the components of this assessment –The ADI-R, the
    SRS-2, the Vineland-3, the ADOS-2 – together with informal interviews, involving reliable
    informants who provided consistent information, and direct interview and observations of Dr.
    Wright, are all consistent with a diagnosis of Autism Spectrum Disorder (ASD), which is also the
    diagnosis emerging from the totality of this information and expansive set of observations. Dr.
    Wright’s history and current presentation are in fact unequivocally consistent with that of an
    extremely bright individual with ASD. His profile is marked by extreme scatter of skills in various
    domains of functioning, the kind of variability that is in itself very characteristic of individuals
    with ASD with high intellect. These include extremely strong strengths or assets in the areas of
    verbally-mediated skills –e.g., formal language, formal knowledge, semantic memory,
    systematizing reasoning –and equally extreme deficits in adaptive skills, informal language such
    as non-literal speech and pragmatics, social cognition and social context, and most of all, in
    intuitive understanding of others and of self, and of social situations. There has been remarkable
    continuity in the way he developed coping skills over the years, from his early childhood through
    the present, building on his all-absorbing interests, skills and pursuits. With the help of several
    individuals in his life, but most prominently, and more recently, by his wife, Ramona Watts, he
    has been able to mitigate somewhat his one-sided style and maladaptive behaviors, and is able
    to present himself more competently, particularly in more public situations. Nevertheless, the
    markings of his longstanding social, communication, cognitive and behavioral style are still very
    much pronounced, and they can be exacerbated in situations of frustration and stress.

           05.   OPINION #2: HOW DOES THE DIAGNOSIS OF ASD IMPACT DR. WRIGHT’S
           PRESENTATION IN LEGAL PROCEEDINGS SUCH AS DEPOSITIONS AND COURT
           APPEARANCES?

    The basis for this portion of the opinion is a review of Dr. Wright’s deposition transcript and
    videos relative to his diagnostic formulation, not simply a diagnosis of ASD but his individualized
    profile in the areas of social and communication functioning, as well as his lifetime learning and
    coping styles.

    Dr. Wright’s presentation in his depositions is an instantiation of his longtime condition and
    profile of extreme strengths and equally extreme deficits, which result in behavior that may



                                                                                                       13
Case 9:18-cv-80176-BB Document 509-1 Entered on FLSD Docket 05/18/2020 Page 15 of 29
                                          CONFIDENTIAL


    convey to others, who observe him and judge his responses in the absence of this context, as
    maybe arrogant, entitled and even grandiose, evasive, and deceitful. And yet, rather than being
    a presentation contrived specifically to the legal proceedings, his style in the depositions is
    consistent with the way he has been, and is, in all realms of his life, being at work, traveling, or
    at home with his family. In fact, his style is mitigated or attenuated somewhat because of the
    highly structured format of the depositions and his deferential attitude towards the judge, which
    is sincere, as it builds on his expectations of (fair and authoritative) court proceedings and the
    law more generally. While his style is blunted in this setting, the rigid piecemeal questioning,
    often focused on a single element of information or intention, is particularly ill-suited to elicit
    comprehensive, clear and coherent information from him because it multiplies the occurrences
    of “imprecisions” on the part of those asking the questions. These imprecisions are, in his
    perceptions, wrong usages of specific words or expressions, wrong or incomplete or misnamed
    technical descriptions, simplified or misunderstood complex concepts, and incomplete
    characterization of highly complicated and often convoluted arrangements including legal ones.
    Dr. Wright cannot tolerate what he sees as imprecisions any more in the court room than he can
    in any conversation he has outside of the courtroom, with colleagues, employees, or even family
    members. They are naturally repulsive if not infuriating to him, a lifelong reaction that stems
    from his personalized way of approaching information and communication of all kinds. These
    perceptions and associated reactions collide, in question after question, with the behavior of
    those posing the questions, for whom this kind of pedantic semantic precision and technical
    super-accuracy is secondary to the overall context of the litigation, which aims to probe the
    possibility of malicious intent, deceitful hiding of critical information, stonewalling, and
    ultimately a refusal to assign credit and its value to those who contributed to a successful
    product. Although Dr. Wright and the attorneys questioning him are tied in this back and forth
    question-answer dialogue, they are often not sharing the same level of discourse: while the
    attorneys have a plaintiff’s allegation as the context for every question they pose, Dr. Wright has
    a generally negative view of their pursuit because he sees the ligation as mistaken and misguided,
    but otherwise his mind is focused elsewhere: on the imprecision of their language, on their wrong
    or incomplete technical characterizations, and on their inability to see and appreciate the logic
    of his convoluted technical and legal arrangements. The result of his behavior is the attorneys’
    impressions of evasiveness, deliberate argumentativeness, and contemptuous hiding of
    information, all of which giving the impression of stonewalling. And yet what is triggering Dr.
    Wright’s frustration, and even his instances of disrespect, is not the interrogation itself but the
    imprecisions and mischaracterizations that he cannot tolerate, not when sitting at the deposition
    chair, but also not when sitting at his computer at work or in his sofa at home.

    The examples of this dynamic abound in his deposition transcript of June 28, 2019, when both
    Dr. Wright and the deposing attorneys take turns at misconstruing the intentions of the other
    party. When Dr. Wright professes his utmost deference to the law, and describes Bitcoin as a
    momentous achievement for the integration of computer code and law in the execution of
    monetary transactions, he is making these statements with profound sincerity, in an egotistical
    fashion, but with total consistency with his worldview, a worldview that he expresses in public
    and in person, and not contrived to manipulate the opinion of others. In fact, most of the time,
    he is not thinking about others; he is thinking about his creations or his various circumscribed



                                                                                                     14
Case 9:18-cv-80176-BB Document 509-1 Entered on FLSD Docket 05/18/2020 Page 16 of 29
                                          CONFIDENTIAL


    knowledge pursuits. Given that the context of these comments is a litigation in which he is the
    defendant, the impressions this kind of behavior conveys are those of grandiosity, evasiveness
    and deliberate deceitfulness.

    These impressions grow stronger with every question in which Dr. Wright seems to deliberately
    deploy a tactic of being pedantic with word definitions and overly technical with software
    technology terms. When Bill Clinton stated “It depends upon what the meaning of the word ‘is’
    is”, every spectator knew that he was being evasive lest he was caught perjuring himself. When
    Dr. Wright is requesting clarification of a word meaning, or is correcting a word’s usage, or is
    lecturing on the etymological roots of a common-place term, he is engaged in exactly the same
    behavior that is typical of him in every domain he interacts in, including with these consultants.
    For example, after completing a straightforward checklist on social behavior (the SRS-2), he wrote
    a page-long note, with four paragraphs on the etymology of the words “weird” (from the
    sentence: “Is regarded by others as odd or weird”) and “humor” (from the sentence: “Has a sense
    of humor, understand jokes”), with usages and meanings dating back to the Middle Ages. These
    paragraphs were not written in jest, nor where they written to impress the consultants with some
    kind of word wizardry; instead, they were written as sincere clarifications of his responses. He
    took issue with the literal meanings of these words, was not sure which of the many different
    meanings we actually meant, finally stating: ”I have responded based … not on the true meaning
    of the words but rather on the basis of what I believe you mean from them based on experience
    I have had over the last 30 years”. In other words, despite his high intellect, he seems to be unable
    to grasp the colloquial meaning of some simple words without having to “scroll” over the various
    (extremely improbable) possibilities. Most people, of course, have no difficulty discerning the
    context and meaning of these words, which they learn early enough in their social lives. Dr.
    Wright implied that he needed the cumulative experience with others in his adulthood, possibly
    with the coaching of others (as several informants stated) in order to grasp basic concepts of
    “street smarts”. in the absence of this characterization, Dr. Wright’s frequent sparring with the
    deposing attorneys gave the impression of stubborn unwillingness to answer the simplest of
    questions, thus inviting the judgment of contemptuous disregard for the proceedings and
    hostility to those attempting to uncover the truth from him.

    The same dynamic applied to questions that probed deliberate intention to deceive or hide
    information, but which also contained some technical terms or reasoning. In the deposing
    attorney’s mind, as in the minds of others witnessing the deposition, the context of the
    deposition automatically implied that most technical details and terms were not relevant to the
    central claims of the litigation. And yet, in Dr. Wright’s mind, he simply could not overcome the
    fact that the technical term or reasoning was wrong or imprecise. One particular question and
    exchange that lasted for several pages of the transcript probed whether or not Dr. Wright might
    have altered a pdf that captured an email he wrote, thus committing forgery. Dr. Wright
    continuously stated that a pdf capture of an email is not the email and, that, therefore, the
    attorney was misleading the court. In the eyes of those observing that entrenched behavior, Dr.
    Wright was using an irrelevant technicality in order to deny an accusation that required a simple
    yes/no answer, an admission of culpability. In other words, he was using semantic
    argumentativeness so as not to admit to wrong doing. And yet, this is, once again, Dr. Wright’s



                                                                                                      15
Case 9:18-cv-80176-BB Document 509-1 Entered on FLSD Docket 05/18/2020 Page 17 of 29
                                           CONFIDENTIAL


    style of conversation, sometimes more akin to verbal fencing, in which his mind focuses on
    irrelevant details while missing or failing to respond to the gist of the conversation. This kind of
    questioning was made all the more unproductive because of the deposing attorney’s intent on
    pinning Dr. Wright to simple yes/no answers, without giving him an opportunity to provide fuller
    explanations. Dr. Wright’s focus on irrelevant “parts” rather than meaningful “wholes” should
    not be interpreted as blatant stonewalling; this is his style of learning, also typical of individuals
    with ASD, in which their minds are almost lost in irrelevant details while failing to see the whole
    picture.

    This style of learning, often called “a lack of drive for central coherence” (integrating parts into
    wholes), is a pervasive challenge for individuals with ASD. In communication, individuals with ASD
    may engage in long monologues that are almost chains of associative thinking without ever
    coming to a meaningful piece of communication to another person. In learning, designing and
    building projects, they may become involved in highly complex contraptions that lack an overall
    plan or design, or a clear and straightforward system of management. Dr. Wright’s style of
    communication and engineering seem to share these characteristics. Whether speaking about
    the technical elements of Bitcoin, or trying to answer questions about his trusts or companies,
    there is a sense of overwhelming (and convoluted) complexity, almost a patchwork of solutions,
    co-existing with hundreds of failed attempts, without a simple blueprint giving one the solution
    for the big puzzle. Attempts to clarify what this overall scheme is via piecemeal interrogation
    represents a minefield for the deposing attorneys, whose use of imprecise terms, fragmented
    knowledge, and focus on intent rather than on technical details not only makes Dr. Wright’s
    yes/no answers ineffectual, they also invite his combative answers because he simply cannot
    tolerate these kinds of imprecisions, mistakes or misattributions. Unfortunately for Dr. Wright,
    others will once again see this behavior as intransigence, disingenuous effort, and contempt.
    Observers will see his anger as his response to being accused of a crime. And yet, Dr. Wright’s
    anger is first and foremost a result of the fact that he cannot get others to understand his mind,
    to understand his creations, and to understand his teaching. To others, the litigation and Dr.
    Wright’s behavior in it, is about truthfulness of intention, intellectual property and monetary
    rights. To Dr. Wright, his behavior during this litigation is about others’ understanding of his
    creations and of himself.

    Another element of Dr. Wright’s deposition that fuels other people’s impressions that he is not
    telling the truth is his frequent struggle to answer questions that appear trivial, to remember
    names of people that he should not have forgotten, and to describe past communications with
    others that contained important information on intentions, negotiations, decisions and plans. It
    appears too incredible that a successful businessman cannot remember the address of his work
    place, or the names of important employees, or cannot give an account of the fate of past co-
    workers and friends, or does not have a straightforward system for file management, or has failed
    to safeguard every element of his work since its inception. And yet, when Dr. Wright states that
    he remembers his math and his work, and that he doesn’t think about or remembers people, he
    is being truthful. When he is stating that he does not know details about personal
    communications, appointments or key employees, or even decisions that should be deemed
    important, and that he does not do “secretarial work” and pays others to do that work, he



                                                                                                       16
Case 9:18-cv-80176-BB Document 509-1 Entered on FLSD Docket 05/18/2020 Page 18 of 29
                                          CONFIDENTIAL


    appears entitled and arrogant, but in fact, these are things that are historically major deficits for
    him. And while he sounds at times insensitive to the point of being entirely removed from the
    human side of his work pursuits, this has been his style of learning and coping: he knows logical
    systems well, he is extremely skilled in math, and he has a prodigious memory for formal
    knowledge (facts and information) about a range of subjects. As noted, he has several academic
    degrees and is engaged in several others. At the same time, his “social smarts” (Socialization
    skills), as measured with the Vineland-3, is lower that the first percentile, making him less
    accomplished in this domain than individuals with mild intellectual disabilities. His organizational
    skills, captured by the neuropsychological term “executive function”, is, and in most individuals
    with ASD with high intellectual skills, very deficient by consistent report of various informants,
    including his wife, who experiences his disorganization and inability to complete routine chores
    without being guided and reminded. Alongside his extreme challenges in understanding others
    is his lack of interest in others, save his closest family. In fact, the way people seem to judge Dr.
    Wright is akin to one of the greatest challenges that “higher functioning” individuals with ASD (or
    Asperger syndrome) have experienced for many years: because people typically judge others by
    the level of sophistication of their speech, and because these individuals often are very articulate,
    when they transgress social mores and conventions, others believe that they have done so
    willfully, when in fact, they transgress because their understanding of the social world is
    extremely limited. In the past, in schools, these individuals would be labeled children with
    “emotional maladjustments” or, essentially, “bad children”. They were blamed for their
    disability. It was only in the past decade that the educational system has understood that rather
    than punishment, these children require social skills training and other supports to succeed in
    school. There is a clear sense that Dr. Wright was one of those children who was mercilessly
    teased and bullied, thought as “weird” by peers and disrespectful by adults who could not
    understand his seemingly willful transgression of the unspoken rules of social behavior. He was
    able to build on his strengths to overcome, to some extent, these challenges, and to work
    productively and to pursue a series of learning projects. While he has succeeded in many
    respects, being very happy within his family and immersed in his learning pursuits, the challenges
    associated with ASD, including his profile of strengths and deficits, coping style, and sense of
    what is, and is not, important, remain and will be with him, whether he is in a courtroom, in a
    workplace, or at home.

    In many instances during the deposition, Dr. Wright was respectful, truthful and made a real
    effort to answer questions and remember information, to the point of correcting himself, or
    asking the attorney to wait until he could provide a fuller answer. These occasions happened if
    his mind was not absorbed in reacting to what he conceived to be imprecisions of language and
    technical terms, or mischaracterizations of his concepts or systems, including his legal ones.

    It is these consultants’ recommendation that Dr. Wright’s diagnosis of ASD and individualized
    clinical profile, as described in this report, are taken into consideration when both eliciting
    information from him and when judging his behavior and communications in future court
    proceedings.




                                                                                                      17
Case 9:18-cv-80176-BB Document 509-1 Entered on FLSD Docket 05/18/2020 Page 19 of 29
                                          CONFIDENTIAL


    It was a distinct pleasure to have the opportunity to contribute to this case’s ongoing
    deliberations.




    Celine Saulnier, Ph.D., Licensed Clinical Psychologist



    Ami Klin, Ph.D., Licensed Clinical Psychologist




                                                                                         18
Case 9:18-cv-80176-BB Document 509-1 Entered on FLSD Docket 05/18/2020 Page 20 of 29
                                             CONFIDENTIAL


    ADDENDUM 1: Dr. Ami Klin’s publications in the past 10 years (2009 to present) (only peer
    reviewed publications):

            Research Articles:

    McDonald, N.M., Senturk, D., Scheffler, A., Brian, J.A., Carver, L.J., Charman, T., Chawarska, K.,
    Curtin, S., Hertz-Piccioto, Jones, E.J.H., Klin, A., Landa, R., Messinger, D.S., Ozonoff, S., Stone, W.L.
    Tager-Flusberg, H., Webb, S.J., Young, G., Zwaigeanbaum, L., & Jeste, S.S. (2019). Developmental
    trajectories of infants with multiplex family risk for autism: a Baby Siblings Research Consortium
    study. JAMA Neurology, doi: 10.1001/jamaneurol.2019.3341. [PMID: 31589284].

    Pohl, A., Jones, W., Marrus, N., Zhang, Y, Klin, A., & Constantino, J.N. (2019). Behavioral predictors
    of autism recurrence are genetically independent and influence social reciprocity: evidence that
    polygenic ASD risk is mediated by separable elements of developmental liability. Translational
    Psychiatry, 9(1):202. [PMID:31439834]

    Micheletti, M., McCracken, C., Constantino, J., Mandell, D., Jones, W., & Klin, A. (2019).
    Outcomes of 24-36-month-old children with ASD vary by ascertainment strategy: a systematic
    review and meta-analysis. Journal of Child Psychology & Psychiatry, 61(1), 4-17. [PMID:31039237]

    Fernandez-Carriba, S., González-García, M., Bradshaw, J., Gillespie, S., Mendelson, J.L., Saulnier,
    C.A., Klin, A., Negi, L.T., & Herndon, J. (2019). Learning to connect: a feasibility study of a
    mindfulness and compassion training for parents of children with autism spectrum disorder.
    Mental Health & Family Medicine, 15, 794-804.

    Bradshaw, J., Klin, A., Jones, W., Evans, L., Klaiman, C., Saulnier, C., & McCracken, C. (2019).
    Development of attention from birth to 5 months in infants at risk for autism spectrum disorder.
    Development and Psychopathology, 1-11. doi:10.1017/S0954579419000233. [PMID:31012398]

    Bradshaw, J., Gillespie, S., Klaiman, C., Klin, A., & Saulnier, C. (2018). Early emergence of
    discrepancy in adaptive behavior and cognitive skills in toddlers with autism spectrum disorder.
    Autism, doi: 10.1177/1362361318815662. [PMID:30525959]

    Li, L., Bachevalier, J., Hu, X.P., Klin, A., Preuss, T., Shultz, S., & Jones, W. (2018). Topology of the
    structural social brain network in typical adults. Brain Connectivity, 8(9):537-548.
    [PMID:30280929]

    Shultz, S., Klin, A. & Jones, W. (2018). Neonatal transitions in social behavior and their
    implications for autism. Trends in Cognitive Sciences, 22(5):452-469. [PMID:29609895]

    Sifre, R., Olson, L., Gillespie, S., Klin, A., Jones, W., & Shultz, S. (2018). A longitudinal investigation
    of preferential attention to biological motion in 2- to 24-month-old infants. Scientific Reports,
    8(1):2527. [PMID:29410484]




                                                                                                            19
Case 9:18-cv-80176-BB Document 509-1 Entered on FLSD Docket 05/18/2020 Page 21 of 29
                                            CONFIDENTIAL


    Constantino, J.N., Kennon-Mcgill, S., Weichselbaum, C., Marrus, N., Haider, A., Glowinski, A.L.,
    Gillespie, S., Klaiman, C., Klin, A., & Jones, W. (2017). Infant viewing of social scenes is under
    genetic control and is atypical in autism. Nature, 547(7663):340-344. [PMID: 28700580]

    Moriuchi, J.M., Klin, A., & Jones, W. (2017). Mechanisms of diminished attention to eyes in
    autism. American Journal of Psychiatry, 174(1):26-35. [PMID:27855484]

    Cicchetti, D.V., Klin, A., Volkmar, F.R. (2016). Assessing binary diagnoses of bio-behavioral
    disorders: The clinical relevance of Cohen’s Kappa. The Journal of Nervous and Mental Disease,
    205(1):58-65. [PMID: 27741082]

    Burger-Caplan, R., Saulnier, C., Jones, W., & Klin, A. (2016). Predicting social and communicative
    ability in school-age children with ASD: a pilot study of the Social Attribution Task – Multiple
    Choice. Autism. DOI: 10.1177/1362361315617589. [PMID: 27121244]

    Chawarska, K., Shic, F., Macari, S., Campbell, D., Brian, J., Landa, R., Hutman, T., Nelson, C.A.,
    Ozonofff, S., Tager-Flusberg, H., Young, G., Zwaigenbaum, L., Cohen, I.L., Charman, T., Messinger,
    D.S., Klin, A., Johnson, S., & Bryson, S. (2014). 18-month predictors of later outcomes in younger
    siblings of children with autism spectrum disorder: a Baby Siblings Research Consortium
    study. Journal of the American Academy of Child & Adolescent Psychiatry, 53(12), 1317-1327.

    Marrus, N., Glowinski, A.L., Jacob, T., Klin, A., Jones, W., Drain, C.E., Holzhauer, K.E., Hariprasad,
    V., Fitzgerald, R.T., Mortenson, E.L., Sant, S.M., Zhang, Y., Agrawal, A., Heath, A., & Constantino,
    J.N. (2014). Rapid video-referenced ratings of reciprocal social behavior in toddlers: a twin
    study. Journal of Child Psychology & Psychiatry, 56(12):1338-46. [PMID 25677414]

    Ventola, P., Saulnier, C. A., Steinberg, E., Chawarska, K., Klin, A. (2014). Early-emerging social
    adaptive skills in toddlers with autism spectrum disorders: An item analysis. Journal of Autism
    and Developmental, 44(2), 283-93. [doi: 10.1007/s10803-011-1278-x] [PMID: 21567256]

    Cicchetti, D. V., Lord, C., Koenig, K., Klin, A., Volkmar, F. R. (2014). Reliability of the ADI-R for the
    Single Case – Part II: Clinical versus statistical significance. Journal of Autism and Developmental
    Disorders, 44(12), 3154-60. [PMID: 24996869]

    Jones, W., & Klin, A. (2013). Attention to eyes is present but in decline in 2-6 month-olds later
    diagnosed with autism. Nature, 504 (7480), 427-431. [NIHMS527415] [DOI
    10.1038/nature12715] [PMID: 24196715] [cited 768 times, Google Scholar, Jan 2020].

    Steiner, A. M., Gengoux, G. W., Klin, A., & Chawarska, K. (2012). Pivotal Response Treatment for
    Infants At-Risk for Autism Specturm Disorders: A Pilot Study. Journal of Autism and
    Developmental Disorders, 43(1), 91-102. [PMCID: PMC3571709]

    Lord, C., Petkova, E., Hus, V., Gan, W., Lu, F., Martin, D. M., Ousley, O., Guy, L., Bernier, R., Gerdts,
    J., Algermissen, M., Whitaker, A., Sutcliffe, J., Warren, Z., Klin, A., Saulnier, C., Hanson, E.,



                                                                                                          20
Case 9:18-cv-80176-BB Document 509-1 Entered on FLSD Docket 05/18/2020 Page 22 of 29
                                             CONFIDENTIAL


    Hundley, R., Piggot, J., Fombonne, E., Steiman, M., Miles, J., Kanne, S., Goin-Kochel, R. P., Peters,
    S. U., Cook , E. H., Guter, S., Tjernagle, J., Green-Snyder, L., Bishop, S., Esler, A., Gotham, K.,
    Lyuster, R., Miller, F., Olson, J., Richler, J., & Risi, S. (2012). A Multisite Study of the Clinical
    Diagnosis of Different Autism Spectrum Disorders. Archives of General Psychiatry, 69 (3), 306-
    313. [PMID: 22065253].

    Macari, S. L., Campbell, D., Gengoux, G.W., Saulnier, C., Klin, A., & Chawarska, K. (2012).
    Predicting Developmental Status from 12 to 24 Months in Infants at Risk for Autism Spectrum
    Disorder: A Preliminary Report. Journal of Autism and Developmental Disorders, 42(12), 2636-
    2647. [PMCID: PMC3565427]

    Rice, K., Moriuchi, J., Jones, W., & Klin, A. (2012). Parsing heterogeneity in autism spectrum
    disorders: visual scanning of dynamic social scenes in school-age children. Journal of the
    American Academy of Child and Adolescent Psychiatry, (51)3, 238-248. [PMCID: PMC3306820]

    Ventola, P., Saulnier, C., Steinberg, E., Chawarska, K., & Klin, A. (2011). Early-Emerging Social
    Adaptive Skills in Toddlers with Autism Spectrum Disorders: An Item Analysis. Journal of Autism
    and Developmental Disorders [DOI: 10.1007/s10803-011-1278-x]

    Tsatsanis, K. D., Noens, I. L. J., Illmann, C. L., Pauls, D. L., Volkmar, F. R., Schultz, R. T., & Klin, A.
    (2011). Managing complexity: impact of organization and processing style on nonverbal memory
    in autism      spectrum disorders. Journal of Autism Developmental Disorders, 41(2), 135-47.
    [PMID: 21128108]

    Shultz, S., Klin, A., & Jones, W. (2011). Inhibition of eye blinking reveals subjective perceptions
    of stimulus salience. Proceedings of the National Academy of Sciences, 108(52), 21270-5. [PMCID:
    PMC3248475]

    McPartland, J. C., Wu, J., Bailey, C. A., Mayes, L. C., Schultz, R. T., & Klin, A. (2011). Atypical neural
    specialization for social percepts in autism spectrum disorder. Social Neuroscience, 6(5-6), 436-
    51. [PMCID: PMC3204335]

    Chawarska, K., Campbell, D., Chen, L., Shic, F., Klin, A. & Chang, J. (2011). Early generalized
    overgrowth in boys with autism. Archives of General Psychiatry, 68(10), 1021-31. [PMID:
    21969460]

    Shic, F., Bradshaw, J., Klin, A., Scassellati, B., & Chawarska, K. (2011). Limited activity monitoring
    in toddlers with autism spectrum disorder. Brain Research, 1380, 246-254. doi:
    10.1016/jbrainres.2010.11.074. [PMCID: PMC3050079]

    Paul, R., Fuerst, Y., Ramsay, G., Chawarska, K., & Klin, A. (2011). Out of the mouths of babes:
    vocal production in infant siblings of children with ASD. Journal of Child Psychology &
    Psychiatry, 52(5), 588-98. doi:10.1111. [PMCID: PMC3078949]




                                                                                                            21
Case 9:18-cv-80176-BB Document 509-1 Entered on FLSD Docket 05/18/2020 Page 23 of 29
                                            CONFIDENTIAL


    Vander Wyk, B. C., Ramsay, G. J., Hudac, C. M., Jones, W., Lin, D., Klin, A., Lee, S. M., & Pelphrey,
    K. A. (2010). Cortical integration of audio-visual information. Brain Cognition, 74(2), 97-106.
    [PMID 20709442]

    Kaiser, M. D., Hudac, C. M., Shultz, S., Lee, S. M., Cheung, C., Berken, A. M., Deen, B., Pitskel, N.
    B., Sugrue, D. R., Voos, A. C., Saulnier, C. A., Ventola, P., Wolf, J. M., Klin, A., Vander Wyk, B. C.,
    & Pelphrey, K. A. (2010). Neural signatures of autism. Proceedings of the National Academy of
    Sciences, 107(49), 21223-8. [PMCID: PMC3000300]

    Chawarska, K., Volkmar, F., & Klin, A. (2010). Limited attentional bias for faces in toddlers with
    autism spectrum disorders. Archives of General Psychiatry, 67(2), 178-185. [PMID: 201241117]

    White, S. W., Albano, A. M., Johnson, C., Kasari, C., Ollendick, T., Klin, A., Oswald, D., & Scahill, L.
    (2010). Development of a cognitive-behavioral intervention program to treat anxiety and social
    deficits in teens with high-functioning autism. Clinical Child and Family Psychology Review, 13(1),
    77-90. [PMCID: PMC2863047]

    New, J. J., Schultz, R. T., Wolf, J., Niehaus, J. L., Klin, A., German, T. C., & Scholl, B. J. (2010). The
    scope of social attention deficits in autism: Prioritized orienting to people and animals in static
    natural scenes. Neuropsychologia, 48, 51-59. [PMID: 19686766]

    Wang, K., Zhang, H., Ma, D., Bucan, M., Glessner, G.T., Abrahams, B. S., Salyakina, D., Imielinski,
    M., Bradfield, J. P., Sleiman, P. M. A., Kim, C. E., Chiavacci, R., Takahashi, N., Sakurai, T.,
    Rappaport, E., Lajonchere, C. A., Munson, J., Estes, A., Korvatska, O., Piven, J., Sonnenblick, L. I.,
    Retuerto, A. I. A., Herman, E. I., Dong, H., Hutman, T., Sigman, M., Ozonoff, S., Klin, A., Owley, T.,
    Sweeney, J. A., Brune, C. W., Cantor, R., Bernier, R., Gilbert, J. R., Cuccaro, M. L., Wassink, T. H.,
    McMahon, W. M.,Coon, H., Miller, J., Nurnberger, Jr., State, M. W., Haines, J. L., Levy, S. E.,
    Sutcliffe, J. S., Cook, E. H., Minshew, N. J., Buxbaum, J. D., Dawson, G., Grant, S. F. A., Geschwind,
    D. H., Pericak-Vance, M. A., Schellenberg, G. D., & Hakonarson, H. (2009). Common              genetic
    variation in the intergenic region between CDH10 and CDH9 is associated with susceptibility to
    autism spectrum disorders. Nature, 459(7246), 528-33. [PMCID: PMC2943511]

    Jones, W., & Klin, A. (2009). Heterogeneity and homogeneity across the autism spectrum: the
    role of development. Journal of the American Academy of Child and Adolescent Psychiatry, 48(5),
    471-3. [PMID: 19395902]

    Chawarska, K., Klin, A., Paul, R., Macari, S., & Volkmar, F. (2009). A prospective study of toddlers
    with autism spectrum disorders: Short-term diagnostic and cognitive outcomes. Journal of Child
    Psychology & Psychiatry, 50(10), 1235-1245. [PMID: 19594835]

    Klin, A., Lin, D. J., Gorrindo, P., Ramsay, G., & Jones, W. (2009). Two-year-olds with autism fail to
    orient towards human biological motion but attend instead to non-social, physical contingencies.
    Nature, 459, 257-261. [PMCID: PMC2758571] [PMCID: PMC2758571] [cited 729 times, Google
    Scholar, Jan 2020].



                                                                                                           22
Case 9:18-cv-80176-BB Document 509-1 Entered on FLSD Docket 05/18/2020 Page 24 of 29
                                           CONFIDENTIAL


            Reviews and Chapters:

    Klaiman, C., Saulnier, C.A., Rubin, E., Chawarska, K., & Klin, A. (2019). Social processes and risk
    for autism. In DelCarmen-Wiggins, R., & Carter, A.S. (Eds.), The Oxford Handbook of Infant,
    Toddler, and Preschool Mental Health Assessment, Second Edition, pp. 351-370. Oxford, UK:
    Oxford University Press.

    Klin, A. (2018). Biomarkers in autism spectrum disorder: challenges, advances, and the need for
    biomarkers of relevance to public health. Focus (American Psychiatric Association), 16(2)
    Biomarkers in Psychiatry: 135-142.

    Klin, A., & Jones, W. (2018). An agenda for 21st century neurodevelopmental medicine: lessons
    from autism. Revista de Neurología, 66(S01):S3-S15.

    Shultz, S., Klin, A., & Jones, W. (2015). Early departures from normative processes of social
    Engagement in infants with autism spectrum disorder. In A. Puce, & B.I. Bertenthal (Eds.), The
    many faces of social attention: behavioral and neural measures (pp. 157-177). London, UK:
    Springer International publishing.

    Volkmar, F. R., Klin, A., Schultz, R. T., & State, M.W. (2017). Autism Spectrum Disorder. In B.J.
    Sadock, V.A. Sadock, & P. Ruiz (Eds.), Kaplan & Sadock’s Comprehensive Textbook of Psychiatry,
    10th edition (pp. 3571-3586). Philadelphia, PA: Lippincott Williams & Wilkins.

    Klin, A., & Jones, W. (2015). Measurement and mismeasurement of social development in
    infants later diagnosed with autism spectrum disorder. International Journal of Statistics in
    Medical Research, 4, 180-187. DOI: http://dx.doi.org/10.6000/1929-6029.2015.04.02.3

    Klin, A., Klaiman, C., & Jones, W. (2015). Reducing age of autism diagnosis: developmental
    social neuroscience meets public health challenge (in both English and Spanish). Revista de
    Neurología, 60 (S01):S3-S11.

    Klin, A., Wetherby, A.M., Woods, J., Saulnier, C., Stapel-Wax, J., Klaiman, C., Jones, W., Rubin,
    E., Scahill, L., Call, N., Bearss, K., Gunter, C., Courtemanche, C.J., Lemieux, A., Cox, J.C., Mandell,
    D.S., Van Decar, J.P., Miller, R.A., & Shireman, C.L. (2015). Toward innovative, cost-effective,
    and systemic solutions to improve outcomes and well-being of military families affected by
    autism spectrum disorder. Yale Journal of Biology & Medicine, 88(1), 73-79.

    Klin, A., Shultz, S., & Jones, W. (2015). Social visual engagement in infants and toddlers with
    autism: Early developmental transitions and a model of pathogenesis. Neuroscience &
    Biobehavioral Reviews, 50, 189-203. [NIHMS: 639760]

    Klin, A., Chawarska, K., Rubin, E., & Volkmar, F.R. (2013). Avaliação clínica de crianças com risco
    de autism. In C. D. Stobäus & J. J. M. Mosquera (Eds.), Educação e Inclusão: Perspectivas
    desafiadoras. Porto Alegre, Brazil: EdiPUC.



                                                                                                         23
Case 9:18-cv-80176-BB Document 509-1 Entered on FLSD Docket 05/18/2020 Page 25 of 29
                                           CONFIDENTIAL



    Jones, W., & Klin, A. (2013). Social engagement in the first two years of life in autism spectrum
    disorders. In M. Just & K. Pelphrey (Chair), Development and Brain Systems in Autism.
    Symposium conducted at the meeting of Carnegie Mellon University, New York, NY: Psychology
    Press.

    Sharp, W. G., Berry, R. C., McCracken, C., Nuhu, N. N., Marvel, E., Saulnier, C., Klin, A., Jones,
    W., & Jaquess, D. L. (2013). Feeding problems and nutrient intake in children with autism
    spectrum disorders: A meta-analysis and comprehensive review of the literature. Journal of
    Autism and Developmental Disorders, 43(9), 2159-73. [PMID: 23371510]

    Volkmar, F.R., Klin, A., & Shultz, R.T. (2012). Autism and the pervasive developmental
    disorders. In M. G. Gelder, J. J. López-Ibor, & N. Andreasen (Eds.), New Oxford Textbook of
    Psychiatry, 2nd edition, Volume 2 (pp. 1633 - 1642). Oxford, United Kingdom: Oxford University
    Press.

    Klin, A. (2011). Asperger’s syndrome: from Asperger to modern day. In D.G. Amaral, G. Dawson,
    & Geschwind, D.H. (Eds.), Autism Spectrum Disorders (pp. 44 – 59). Oxford, United Kingdom:
    Oxford University Press.

    Saulnier, C., Quirmbach, L., & Klin, A. (2011). Clinical evaluation of children with Autism
    Spectrum Disorders. In C. Araújo, J. Perissinoto, & J.S. Schwartzman (Eds.), Autismo e outros
    transtornos do espectro autista (pp.159-172). São Paulo, Brazil: Editora Memnon.

    Saulnier, C., Quirmbach, L., & Klin, A. (2011). Clinical evaluation of children with autism
    spectrum disorders. In E. Hollander, A. Kolevzon, & J. Coyle (Eds.), American Psychiatric
    Publishing Inc. Textbook of Autism Spectrum Disorders (pp. 25-38). Arlington, VA: American
    Psychiatric Publishing, Inc.

    Cicchetti, D. V., Koenig, K., Klin, A., Volkmar, F. R., Paul, R., & Sparrow, S. S. (2011). From Bayes
    through marginal utility to effect sizes: a guide to understanding the clinical and statistical
    significance of autism research studies. Journal of Autism and Developmental Disorders, 41(2),
    168-74. [PMID: 20490646]

    VanBergeijk, E., Klin, A., & Volkmar, F.R. (2010). What can help people with ASC find and keep
    employment? In Bolte & Jallmayer (Eds.), Autism Spectrum Conditions (pp. 239-242).
    Cambridge, MA: Hogrefe Publishing.

    Zwaigenbaum, L., Bryson, S., Lord, C., Rogers, S., Carter, A., Carver, L., Chawarska, K.,
    Constantino, J., Dawson, G., Dobkins, K., Fein, D., Iverson, J., Klin, A., Landa, R., Messinger, D.,
    Ozonoff, S., Sigman, M., Stone, W., Tager-Flusberg, H., & Yirmiya, N. (2009). Clinical assessment
    and management of toddlers with suspected autism spectrum disorder: insights from studies of
    high-risk infants. Pediatrics, 123(5), 1383-1391. [PMID: 19403506]




                                                                                                         24
Case 9:18-cv-80176-BB Document 509-1 Entered on FLSD Docket 05/18/2020 Page 26 of 29
                                          CONFIDENTIAL


    Koenig, K., De Los Reyes, A., Cicchetti, D., Scahill, L., & Klin, A. (2009). Group intervention to
    promote social skills in school-age children with pervasive developmental disorders:
    Reconsidering efficacy. Journal of Autism and Developmental Disorders, 39(8), 1163-72. [PMID:
    19326199]

    Volkmar, F. R., State, M., & Klin, A. (2009). Autism and autism spectrum disorders: diagnostic
    issues for the coming decade. The Journal of Child Psychology and Psychiatry, 50(1-2), 108-115.
    [PMID: 19220594]

    Volkmar, F. R., Klin, A., Schultz, R. T., & State, M. (2009). The pervasive developmental
    disorders. In B.J. Sadock, V.A. Sadock, & P. Ruiz (Eds.), Kaplan & Sadock’s Comprehensive
    Textbook of Psychiatry, 9th edition (pp. 3540-3559). Philadelphia, PA: Lippincott Williams &
    Wilkins.

           Editorials, case reports, letters, books, book forewords, book reviews:

    Øien, R..A., Klin, A., Saulnier, C., Chawarska, K., McPartland, J.C., Nordahl-Hansen, A., & Volkmar,
    F.R. (2019). In Memoriam: Domenic V. Cicchetti, PhD. 1937-2019. Journal of Autism &
    Developmental Disorders, 49(9):3475-3476. [PMID: 31309392]

    Baron-Cohen, S., Klin, A., Silberman, S., & Buxbaum, J.D. (2018). Did Hans Asperger actively assist
    the Nazi euthanasia program? Molecular Autism, 9:28. doi: 10.1186/s13229-018-0209-5.
    eCollection 2018. [PMID: 29713441]

    Klin, A. (2015). Foreword to “Do you really get me? Finding value in yourself through empathy
    and connection” by Joseph Shran and Leigh Devine. Center City, Minnesota: Hazelden Publishing.

    Klin, A. (2009). Embracing the challenge of bold theories of autism. British Journal of Psychiatry,
    100, 29-32. [PMID: 19012812]

    McPartland, J., Klin, A., & Volkmar, F. R. (2013). Asperger syndrome, 2nd edition. New York, NY:
    Guilford Books.




                                                                                                     25
Case 9:18-cv-80176-BB Document 509-1 Entered on FLSD Docket 05/18/2020 Page 27 of 29
                                        CONFIDENTIAL


    ADDENDUM 2: Dr. Ami Klin’s expert witness cases in the past 4 years (2016 to present) in which
    he testified as an expert at trial and/or by deposition:

    2016

    01. J. Thomas Anderson
    Anderson & Boutwell
    Hammond, LA 70404
    phone: (985) 345-5640
    fax: (985) 345-3132
    email: tom@abjustice.com
    www.abjustice.com
        • Consultation and deposition; no trial

    02. David Johnson, Esq. and Chelsea Murphy, Esq
    Insley & Race, LLC
    181 14th Street, NE
    Suite 200
    Atlanta, GA 30309
    404.876.9818
    Email: dj@insleyrace.com
        • Consultation only; no deposition or trial.

    2017

    03. Eric M. Kraus, Partner
    Phillips Lytle LLP
    340 Madison Ave (between 43rd and 44th Streets)
    New York NY 10173
    Phone 212 508 0408 Mobile 516 707 0573
    Fax 212 308 9079
    EKraus@phillipslytle.com
        • Consultation only; no deposition or trial.

    04. Richard Cohn
    Aitken – Aitken – Cohen
    3 MacArthur Place, Suite 800
    Santa Ana CA 92707
    email: azalea@aitkenlaw.com
    www.aitkenlaw.com
        • Consultation and deposition, no trial.




                                                                                                26
Case 9:18-cv-80176-BB Document 509-1 Entered on FLSD Docket 05/18/2020 Page 28 of 29
                                           CONFIDENTIAL


    05. Steven Gordon
    Assistant United States Attorney
    Civil Rights Enforcement Coordinator
    Eastern District of Virginia
    c/o Jennifer Lucas
    Civil Rights Investigator
    U.S. Attorney’s Office | Eastern District of Virginia
    Tel: 703-299-3731
    jennifer.s.lucas@usdoj.gov
        • Consultation only; no deposition or trial.

    06. Craig P. Sanders
    Rainey Kizer Reviere & Bell PLC
    Jackson Office
    105 South Highland Avenue | Jackson, TN 38301
    Post Office Box 1147 | Jackson, TN 38302
    Tel. 731.423.2414
    Email: csanders@raineykizer.com
        • Consultation only; no deposition or trial.

    2018

    None

    2019

    07. Jerry W. Evenson
    Evenson Sanderson, PC
    1100 College Drive, Suite #5
    Bismarck, ND 58501
    Tel.: 701-400-7885
    Email: jevenson@esattorneys.com
        • Consultation, deposition and court trial.




                                                                              27
Case 9:18-cv-80176-BB Document 509-1 Entered on FLSD Docket 05/18/2020 Page 29 of 29
                                        CONFIDENTIAL


    ADDENDUM 2: Dr. Ami Klin’s expert witness consultation fees for this case:

    Dr. Klin’s fees are as follows:
        • $600/hour for review of materials (including written and video materials) and report
            writing.
        • $1,000/hour for direct clinical assessments/interviews.




                                                                                                 28
